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Receiver and attorneys for Receiver


                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 FEDERAL TRADE COMMISSION,                         RECEIVER’S MOTION TO EXTEND
                                                   RECEIVERSHIP THROUGH JUNE 15,
 Plaintiff,                                        2020
 vs.

 ELITE IT PARTNERS, INC., and JAMES                Case No. 2:19-cv-00125-RJS
 MICHAEL MARTINOS,

 Defendants.


        In accordance with the Stipulated Order for Permanent Injunction and Monetary

Judgment as to Defendants Elite IT Partners, Inc. and James Michael Martinos (“Order for

Permanent Injunction”) (Dkt. No. 150), p. 10, Section X.D., Thomas R. Barton, court-appointed

receiver (“Receiver”) over Elite IT Partners, Inc. (“Elite”), hereby requests that the Court extend

his term until June 15, 2020.

        According to the terms of the Permanent Injunction, the Receiver’s term expired on or

about April 7, 2020. The Receiver inadvertently overlooked this expiration, and has continued to

wind-up the affairs of Elite IT and prepare to terminate the Receivership. For example, the


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Receiver voluntarily dissolved Elite with the State of Utah, and is preparing to file the 2019 tax

return for Elite. The Receiver has also continued to communicate with plaintiff Federal Trade

Commission (“FTC”) and the Court about his activities. To some extent, the winding-up process

has been delayed by the Covid-19 pandemic, but it is also true that the Receiver has simply

needed additional time (beyond the 120 days provided for in the Order for Permanent Injunction)

to attend to this matter. Good cause thus exists to extend the term of the Receivership another 45

days from today’s date, by which time the Receiver expects to be finished and to have submitted

a final status report and motion to terminate. Therefore, the Receiver respectfully requests that

the Court, retroactively from April 7, 2020, extend the term of the Receivership up through and

including June 15, 2020.

        The Receiver has notified counsel for plaintiff the Federal Trade Commission (“FTC”) of

this motion and his request to extend the term of the Receivership. Counsel for the FTC has

indicated that it has no objection.

        DATED May 1, 2020.

                                                     /s/ Alex B. Leeman
                                                     Thomas R. Barton
                                                     Alex B. Leeman
                                                     Matthew J. Van Wagoner
                                                     PARSONS BEHLE & LATIMER

                                                     Receiver and attorneys for Receiver




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing RECEIVER’S MOTION TO
EXTEND RECEIVERSHIP THROUGH JUNE 15, 2020 was filed with the Court’s e-filing
service this 1st day of May 2020, which sent notice to the following:

        Amanda R. Grier (agrier@ftc.gov)
        Colleen B. Robbins (crobbins@ftc.gov)
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                                                     /s/ Alex B. Leeman




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